           Case 3:16-md-02741-VC Document 2558-1 Filed 01/25/19 Page 1 of 5




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13
                                     UNITED STATES DISTRICT COURT
14
                                   NORTHERN DISTRICT OF CALIFORNIA
15
                                          SAN FRANCISCO DIVISION
16

17     IN RE: ROUNDUP PRODUCTS                      Case No. 3:16-md-02741-VC
       LIABILITY LITIGATION
18
                                                    MDL No. 2741
19
       This document relates to:                    DECLARATION OF LELAND H.
20                                                  BELEW IN SUPPORT OF PLAINTIFFS’
       Hardeman v. Monsanto Co., et al.,            ADMINISTRATIVE MOTION TO FILE
21     3:16-cv-0525-VC                              UNDER SEAL PORTIONS OF
22                                                  EXHIBITS IN SUPPORT OF
       Stevick v. Monsanto Co., et al.,             PLAINTIFFS’ OPPOSITION TO
23     3:16-cv-2341-VC                              DEFENDANT MONSANTO’S
                                                    (1) MOTION FOR SUMMARY
24     Gebeyehou v. Monsanto Co., et al.,           JUDGMENT RE: GROUP 1 PLAINTIFFS
       3:16-cv-5813-VC                              ON NON-CAUSATION GROUNDS AND
25                                                  (2) MOTIONS TO EXCLUDE THE
26                                                  EXPERT TESTIMONY OF WILLIAM
                                                    SAWYER, CHARLES BENBROOK, AND
27                                                  JAMES MILLS

28
                                                                           Case No. 3:16-md-02741-VC
     DECLARATION OF LELAND BELEW IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                    FILE UNDER SEAL
           Case 3:16-md-02741-VC Document 2558-1 Filed 01/25/19 Page 2 of 5




 1     I, Leland H. Belew, hereby declare as follows:

 2     1. I am an attorney duly admitted to practice before this Court. I am an associate attorney at Andrus
 3         Anderson LLP, designated as co-liaison counsel for plaintiffs in MDL No. 2741. I submit this
 4         Declaration in support of Plaintiffs’ Administrative Motion to File Under Seal portions of
 5         exhibits in support of Plaintiffs’ Opposition to Defendant Monsanto Company’s Motion for
 6         Summary Judgment regarding Group 1 Plaintiffs on Non-Causation Grounds and Motions to
 7         Exclude the Expert Testimony of William Sawyer, Charles Benbrook, and James Mills
 8         (“Plaintiffs’ Opposition Brief”).
 9
     I. Documents and Information Lodged Conditionally Under Seal Pursuant to Monsanto’s
10
       Designations.
11
       2. Plaintiffs have filed conditionally under seal portions of exhibits in support of Plaintiffs’
12
           Opposition Brief, that were designated as “Confidential” by Monsanto when produced in
13
           response to Plaintiffs’ discovery requests pursuant to the Protective Order, filed December 9,
14
           2016 (ECF No. 64), or Amended Protective Order, filed September 6, 2017 (ECF No. 519).
15
           Counsel for Monsanto has requested Plaintiffs redact this information.
16
       3. Monsanto has designated confidential the following portions of exhibits filed in support of
17
           Plaintiffs’ Opposition Brief.
18
     Exhibit Document Title                                                        Page:Line
19
     4       Monsanto’s Response to Plaintiff Johnson’s Request for                5:11-6:3; 6:22-7:1; 12:26-
20           Admissions, Set One                                                   13:17
     8       MONGLY01314233, James M. Parry study Evaluation of the                Portions of pages 38-52
21           Potential Genotoxicity of Glyphosate, Glyphosate mixtures
             and component surfactants
22
     11      MONGLY02067858, email and Powerpoint presentation by                  Portion of page 2
23           David Saltmiras titled: Glyphosate Toxocology Activities
             Supporting Registration Reviews dated December 10, 2010
24   23      MONGLY01594842, 2004 Product Safety Center –                          Portions of page 3
             Toxicology Goals
25   24      MONGLY00904009, email from William Heydens re:                        Portions of pages 2-4
26           Scientific Outreach Council Meeting
     25      MONGLY01312107, regarding involvement of Dr. Parry in                 Portions of pages 3-5
27           studies

28
                                           -2-                   Case No. 3:16-md-02741-VC
     DECLARATION OF LELAND BELEW IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                    FILE UNDER SEAL
          Case 3:16-md-02741-VC Document 2558-1 Filed 01/25/19 Page 3 of 5




     26      MONGLY03734971, email from William Heydens re: Parry         Portions of page 2
 1           Report
 2   27      MONGLY00878876, email from Donna Farmer re Micro-MN          Portions of pages 2-4; 6-7
             units
 3   30      MONGLY01030787, email from William Heydens re 2015           Portions of pages 2-6
             SRA Annual Meeting
 4   32      MONGLY01030799, email from John Acquavella re 2015           Portions of pages 2-4
             SRA Annual Meeting
 5
     33      MONGLY02078597, email from David Saltmiras re: IARC          Portions of pages 2-3
 6           Planning
     35      MONGLY02117800, Monsanto Manuscript Clearance Form           Portions of page 2
 7           dated February 29, 2012
     36      MONGLY02145917, email from Mattias Buelig re Genotox         Portions of pages 2-15
 8
             Review dated July 19, 2012
 9   37      MONGLY01228576, email from William Heydens re Post-          Portion of page 4
             IARC Activities to Support Glyphosate dated May 11, 2015
10   38      MONGLY00999487, email from William Heydens re                Portions of pages 2-3
             Glyphosate Expert Panel Manuscripts dated January 6, 2016
11   39      MONGLY01183933, email from Donna Farmer re documents         Portions of pages 2-4
12           for the Animal Bioassay Expert Group dated August 7, 2015
     40      MONGLY01000676, email from William Heydens re                Portions of pages 2-3
13           Summary Article dated February 9, 2016
     41      MONGLY01041641, email from Ashley Roberts re                 Portion of page 2
14           Genotoxicity Panel Final Manuscript dated January 21, 2016
     42      MONGLY03555680, email from Khue Nguyen re Review and         Portions of pages 3-6
15
             Comparison to IARC Assessment dated July 25, 2016
16   43      MONGLY02359008, email from Ashley Roberts re                 Portions of pages 2-6
             Declaration of interest dated May 9, 2016
17   44      MONGLY02932440, email from John Acquavella re NHL            Portion of page 3
             Abstract dated May 12, 2000
18   46      MONGLY00890492, email from Donna Farmer re McDuffee          Portion of page 4
19           article dated November 29, 2001
     47      MONGLY06262795, email from John Acquavella re article re     Portions of pages 2-3
20           NHL and Glyphosate dated September 2, 2003
     49      MONGLY06253165, Powerpoint presentation by Mark              Portion of page 2
21           Martens titled Surfactant Toxicology
     50      MONGLY01192115, email from Donna Farmer re Roundup           Portions of pages 2-4
22
             article in Fremantle Herald dated September 21, 2009
23   51      MONGLY02062439, email from Richard Garnett re KP             Portions of pages 2-3
             conversation on POEA dated February 1, 2010
24   53      MONGLY00989918, email from William Heydens re IARC           Portions of pages 2
             Evaluation of Glyphosate dated October 15, 2014
25   54      MONGLY02913526, Monsanto Draft Glyphosate: IARC              Portions of pages 2-3
26           document dated February 23, 2015
     55      MONGLY07107482, email from Jim Ross re CA and                Portion of page 2
27           Glyphosate dated September 9, 2015

28
                                           -3-                   Case No. 3:16-md-02741-VC
     DECLARATION OF LELAND BELEW IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                    FILE UNDER SEAL
           Case 3:16-md-02741-VC Document 2558-1 Filed 01/25/19 Page 4 of 5




     57        MONGLY00987755, email from William Heydens re                        Portions of pages 3-4
 1             Glyphosate IARC Question dated April 28, 2015
 2   58        MONGLY03293245, Monsanto email re Genotox Review                     Portions of pages 2-11
     59        MONGLY03293245, email re Jim Jones discussion                        Portions of pages 2-11
 3   60        MONGLY02682357, email from Shawn Schrader re 2014                    Portions of pages 2,5-7,
               Annual Adverse Effects Reporting Notification dated January          9-13, and 15
 4             22, 2015
 5   72        Expert Report of William Sawyer, Ph.D. in the MDL 2741               Portion of pages 26-27,
               Group 1 Cases                                                        35-37, 41-43, 47-48, 62,
 6                                                                                  64-66, 99-105, and 114-
                                                                                    115
 7   76        MONGLY01075506, Monsanto Summary and Hazard                          Entire document
               Assessment for Glyphosate
 8
     77        Expert Report of William Sawyer, Ph.D. in the Johnson v.             Entire document
 9             Monsanto Case (CGC-16-550128) case
     88        Expert Report of Charles Benbrook, Ph.D. in the MDL 2741             Portions of paragraphs
10             Group 1 Cases                                                        417-418, 420, 426, 428;
                                                                                    all of paragraph 637.
11   89        Deposition Transcript of Charles Benbrook (Condensed), Part          82:15-16; 163:11-23;
               1, dated February 8, 2018
12
     90        Deposition Transcript of Charles Benbrook (Condensed), Part          396:10; 417:25; 419:3;
13             2, dated February 9, 2018                                            419:8; 445:5; 457:15;
                                                                                    459:18; 460:13; 465:14;
14                                                                                  466:7; 490:7-8; 490:10;
                                                                                    585:3; 645:8-9; 645:21.
15

16
     II. Documents and Information Lodged Conditionally Under Seal to Protect Plaintiffs’ Private Medical
17
       Information and Other Personally Identifiable Information
18
       4. Plaintiffs have also filed conditionally under seal portions of exhibits in support of Plaintiffs’
19
           Opposition Brief, and supporting exhibits that contain confidential information regarding
20
           Group 1 plaintiffs’ medical conditions and/or other personally identifiable information.
21
       5. Plaintiffs seek the following exhibit pages be filed under seal:
22

23   Exhibit Document Title                                                         Page:Line
     71        Excerpts of the Deposition Transcript of William Sawyer,             22:23-23:20; 26:2-27:8;
24             Ph.D. given in the Stevick case dated December 20, 2018              29:9-29:25; 45:20-25;
25                                                                                  48:25-53:21; 88:23-
                                                                                    93:25; 112:19-113:25;
26                                                                                  119:17-120:15; 123:20-
                                                                                    124:21; 129:23; 132:9-
27                                                                                  21; 190:12-191:15;
                                                                                    192:13-197:25; 198:15-
28
                                           -4-                   Case No. 3:16-md-02741-VC
     DECLARATION OF LELAND BELEW IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                    FILE UNDER SEAL
           Case 3:16-md-02741-VC Document 2558-1 Filed 01/25/19 Page 5 of 5




                                                                                    200:5; 200:11-201:10;
 1                                                                                  201:21-25; 224:2-19;
 2                                                                                  238:1-240:21; 241:2-10;
                                                                                    248:22-249:20.
 3    72        Expert Report of William Sawyer, Ph.D. in the MDL 2741              Portion of pages 3, 6,
                Group 1 Cases                                                       and 15
 4
     I declare under penalty of perjury that the foregoing is true and correct.
 5

 6
                                                                  Respectfully Submitted,
 7
     Dated: January 25, 2019                                       /s/ Leland H. Belew
 8                                                                Leland H. Belew
 9                                                                Lori E. Andrus (SBN 205816)
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                                                                  Co-Lead Counsel for Plaintiffs
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                                           -5-                   Case No. 3:16-md-02741-VC
     DECLARATION OF LELAND BELEW IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
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